                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


BRANDI WILLIAMS,                         )
                           Plaintiff     )
                                         )
V.                                       )        Docket No.1:19-CV-11700-DLC
                                         )
METROPOLITAN CASUALTY                    )
INSURANCE COMPANY,                       )
                   Defendant             )

        CERTIFICATE IN ACCORDANCE WITH LOCAL RULE 16.1(D)(3)

      Defense counsel has conferred with her client with regard to establishing a

budget for the costs of the litigation and has further conferred regarding resolution

of this litigation through alternative dispute resolution. The Defendant is willing to

consider alternative dispute resolution as a means of resolution of this case.

                                             /s/ Maureen H.S. Hebert, Esq.
                                             Maureen H.S. Hebert, Esquire
                                             BBO #630412
                                             Law Office of Amy Kropke
                                             160 Gould Street, Suite 110
                                             Needham, MA 02494
                                             (781) 449-8702

I, Pamela J. Sullivan, on behalf of the Defendant, hereby certify that I have discussed a
budget for the costs of litigation and have further conferred with my attorney regarding
resolution of this litigation through alternative dispute resolution.


                                         /s/ Pamela J. Sullivan_____________
                                         On behalf of Metropolitan Property and
                                         Casualty Insurance Company

I Pamela J. Sullivan, Adjuster for Metropolitan Property and Casualty Insurance
Company, hereby certify that I have discussed a budget for the costs of litigation and
have further conferred with defense counsel regarding resolution of this litigation
through alternative dispute resolution.


                                         /s/ Pamela J. Sullivan______
                                         Pamela J. Sullivan
                            CERTIFICATE OF SERVICE

      I, Maureen H.S. Hebert, Attorney for the Defendant, Metropolitan Casualty
Insurance Company, hereby certify that on this date I served the following document:
               Certificate in Accordance with Local Rule 16.1(D)(3)
     by serving an electronic copy of the same to: Brandi Williams, Pro Se, 12
Westminster Avenue, Boston, MA 02119.
                                              /s/ Maureen H.S. Hebert
                                              Maureen H.S. Hebert, Esquire

DATED: __10/02/2019__________
